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  1    ANDREW BAUM - State Bar No. 190397
       abaum@glaserweil.com
  2    OLIVIA M. WEISS – State Bar No. 310788
       oweiss@glaserweil.com
  3    GLASER WEIL FINK HOWARD
       AVCHEN & SHAPIRO LLP
  4    10250 Constellation Boulevard, 19th Floor
       Los Angeles, California 90067
  5    Telephone: (310) 553-3000
       Facsimile: (310) 556-2920
  6
       Attorneys for Defendants
  7    County of Los Angeles,
       Luis Cano, Kevin Walker,
  8    Shawn Groves, Jackson Hill,
       Matthew Seno, and Joshua Parga
  9
       BRIAN T. DUNN, ESQ. – State Bar No. 176502
  10   bdunn@cochranfirm.com
       EDWARD M. LYMAN III, ESQ. – State Bar No. 248264
  11   elyman@cochranfirm.com
       THE COCHRAN FIRM – CALIFORNIA
  12   4929 Wilshire Boulevard, Suite 1010
       Los Angeles, California 90010
  13   Telephone: (323) 435-8205
       Facsimile: (323) 282-5280
  14
       Attorneys for Plaintiff
  15

  16
                                 UNITED STATES DISTRICT COURT
  17
                             CENTRAL DISTRICT OF CALIFORNIA
  18
                                        WESTERN DIVISION
  19
       CHRISTOPHER BAILEY, an individual,          CASE NO.: 2:21-cv-05017 FLA (KSx)
  20
                          Plaintiff,               Hon. Fernando L. Aenlle-Rocha
  21
       v.                                          [Assigned to Magistrate Judge,
  22                                               the Hon. Karen Stevenson]
       COUNTY OF LOS ANGELES, et al.,
  23                                               JOINT STIPULATION FOR
                          Defendants.              INDEPENDENT MEDICAL
  24                                               EXAMINATION OF PLAINTIFF
                                                   CHRISTOPHER BAILEY
  25
                                                   Action Filed: June 21, 2021
  26                                               Trial Date: March 7, 2023
                                                   Discovery Cut-Off: October 21, 2022
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                     JOINT STIPULATION FOR INDEPENDENT MEDICAL EXAMINATION
                                 OF PLAINTIFF CHRISTOPHER BAILEY
       2214838.1
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  1            IT IS HEREBY STIPULATED, BY AND BETWEEN THE PARTIES TO
  2    THIS ACTION, THROUGH THEIR RESPECTIVE ATTORNEYS OF
  3    RECORD, THAT:
  4            Defendants County of Los Angeles, Luis Cano, Kevin Walker, Shawn Groves,
  5    Jackson Hill, Matthew Seno, and Joshua Parga (“Defendants”) have retained an
  6    expert, Dr. Alan L. Shabo, M.D., Clinical Professor of Ophthalmology at the UCLA
  7    School of Medicine, who will conduct an independent medical examination of
  8    Plaintiff Christopher Bailey (“Plaintiff”).
  9            The scope of the examination is to evaluate Plaintiff’s factual allegations
  10   including, but not limited to, allegations of physical, mental, emotional, and/or
  11   psychological injuries or damages.
  12           IT IS FURTHER STIPULATED THAT Plaintiff will submit to the
  13   independent medical examination on the following date, time, and location:
  14           DATE:              October 17, 2022
  15           TIME:              12:30 p.m.
  16           LOCATION:          9100 Wilshire Boulevard, Suite 265E, Beverly Hills, CA
  17                              90212
  18           IT IS FURTHER STIPULATED THAT the total length of the examination
  19   will be two to four hours, not including breaks.
  20           IT IS FURTHER STIPULATED THAT there will be no painful, protracted,
  21   or intrusive diagnostic tests or procedures. Plaintiff will be allowed to take as many
  22   breaks as requested, with the understanding that multiple and lengthy interruptions
  23   will likely extend the duration of the examination.
  24           IT IS FURTHER STIPULATED THAT the manner and nature of the
  25   examination is as follows: The examination shall consist of interviewing, taking
  26   Plaintiff’s history, and administering physical examination. There shall be no
  27   unreasonable or invasive testing. Dr. Shabo shall determine which specific
  28   examinations to administer, based at least in part on his interview of Plaintiff.
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                       JOINT STIPULATION FOR INDEPENDENT MEDICAL EXAMINATION
                                   OF PLAINTIFF CHRISTOPHER BAILEY
       2214838.1
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  1            IT IS FURTHER STIPULATED THAT Plaintiff may be accompanied by
  2    one representative from the law firm of his undersigned counsel.
  3            IT IS FURTHER STIPULATED THAT any party may record the
  4    examination by audio and/or video technology. To the extent either party records the
  5    examination by audio technology, that party shall provide to all parties a copy of the
  6    recording within three (3) business days. Additionally, Defendants shall provide
  7    Plaintiff with a copy of the report related to the examination within three (3) business
  8    days of Defendants’ receipt of the same.
  9            IT IS FURTHER STIPULATED THAT any continuance or cancellation of
  10   this examination must be received no later than 48 hours prior to the examination
  11   date. Failure to provide such notice will render Plaintiff responsible for any fees
  12   charged due to late cancellation.
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        DATED: September 21, 2022              GLASER WEIL FINK HOWARD
                                                AVCHEN & SHAPIRO LLP
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  16
                                               By:
  17                                           ANDREW BAUM
                                               OLIVIA M. WEISS
  18                                               Attorneys for Defendants
                                                   County of Los Angeles, Luis Cano,
  19                                               Kevin Walker, Shawn Groves,
                                                   Jackson Hill, Matthew Seno,
  20                                               Joshua Parga
  21

  22

  23                                           THE COCHRAN FIRM CALIFORNIA
        DATED: September 21, 2022
  24
                                               By: /s/ Brian T. Dunn
  25                                           BRIAN T. DUNN, ESQ.
                                               TONI JARAMILLO, ESQ.
  26                                               Attorneys for Plaintiff Christopher Bailey
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                     JOINT STIPULATION FOR INDEPENDENT MEDICAL EXAMINATION
                                 OF PLAINTIFF CHRISTOPHER BAILEY
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